Case 3:07-cv-05097-S| Document58-2 Filed 01/24/2008 Page1'of2

EXHIBIT A

Umted States Dlstrlct Court
For the Northern District of Califomia

\D°O‘--IO\U`|-P~DJN-‘

w N l\-J l\-} N l\.) l\} {\J l\.'} \-l »-l l_- »-\ ¢-¢ n-l l-\ »_\ _l |_l
00 "'--.l C\ \J`I -P- W l\-'I ""‘ O \D co ""-~l o\ _ U'l -§'~ LA-) l\.) "-‘ C>

 

g§§§§@z@vb%%%%zé§' _D%esaq@§tW-EFi.._».§n%%)ézé€@@§agepo?z Of 2

l'N TI-IE UNITED STATES DISTR]CT COURT
FOR THE NORTHERN DISTR.ICT OF CALIFORNIA

WI_LLIAM HENSHALL, No. C 07-05097 SI
Plaintiff, JUDGMENT

V.

CENTRAL PARKING, INC.; NEW SOUTH
PARKING, INC.,

Defendants.

Defendants’ motion to dismiss has been granted without leave to amend. Judgment is entered

accordingly

IT IS SO OR])ERED.

§M?>&M»

SUSAN ILLSTON
United States Distl'ict Judge

Dated: JanuarylG, 2008

 

 

